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STATE OF INDIANA
CLAIM FOR PROPERTY DAMAGE AND PERSONAL INJURY

FROM THEFT OF VEHICLE

Pursuant to IC 34-13-3, Claimant submits this, her Tort Claim for Damages.

1. CLAIMANT, Brenda Parker, Driver’s License NosQpeaa issued in the State of
Georgia

2. DATE AND TIME OF LOSS: May 9, 2014 between 11:30 p.m. and 12:30 a.m.

3. EXACT LOCATION OF LOSS: Bent Tree Apartments, located at 3210
Ramblewood Drive, Indianapolis, IN 46268, in front of my building at 8260
Bentwood Circle Drive, East, vehicle was stolen. The on the truck tow of vehicle
took place in circle of apartment complex, across from leasing office at 3210
Ramblewood Drive, and in front of all three Officers and with their permission.

4. DOLLAR AMOUNT OF LOSS: $30,000.00 for lost of vehicle, expenses for renting
vehicles, $1000.00 and counting, expenses for being forced to utilize rides from
coworkers, public transportation of Indy Go, Lyft and Uber to get to work and
around, $200.00 and counting, consistently swollen left knee from chasing tow truck
forced walking for physical and financial restraints, stress and aggravation of
getting around the State of Indiana and out of the State of Indiana-constant.

STATE AGENCY: INDIANAPOLIS POLICE DEPARTMENT OF MARION

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COUNTY, OFFICERS INVOLVED: Officer Logal, pam. Officer Pilkington,

Qe and Officer Rolinson, Supervisor, a
6. NAME AND ADDRESS OF ALL PERSONS INVOLVED: Brenda Parker, 8260

Bentwood Circle East Drive, Claimant; 5 Star Automotive Services, LLC, address

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unknown —right now; Driver of Tow Truck stated to be, Dalias, with a telephone
number of #e++: Se, Defendants. Reported name of tow truck
from printed name on tow truck to Dispatcher when I called to report vehicle being
stolen. On the telephone with Dispatch until Officers arrived and became parties.
ADDRESS OF CLAIMANT AT TIME OF LOSS: 8260 Bentwood Circle East,
Indianapolis, IN 46268. Mailing address: 1427 W. 86" Street, #609, Indianapolis, IN
46260.

CLAIMANT’S CURRENT ADDRESS AND WORK/HOME TELEPHONE
NUMBERS: 8260 Bentwood Circle East, Indianapolis, IN 46268, Qa
HOW WAS THE STATE NEGLIGENT: The State of Indianapolis and State
employees were negligent by failing to protect Claimant from a crime and failed to
protect the property of Claimant, failed to serve Claimant in an emergency
situation. Deprived Claimant of use of her vehicle and caused constant pain. The
State of Indianapolis and State employees aided the tow truck driver in the illegal
tow and theft of vehicle. Tow truck driver was trespassing and the Officers aided
the tow truck driver, with his tow truck, in the completion of a crime.
EXPLANATION OF WHAT HAPPENED: Claimant was returning home for a
brief moment around 11:15 p.m. I parked my vehicle in front of my building located
at 8260 Bentwood Circle East Drive and went into my apartment for about 5 to 10
minutes. I returned outside and noticed my vehicle was gone. I immediately called
911 and reported my vehicle was stolen. I then ran around the curve of circular
drive and noticed a tow truck stopped, with my vehicle being pulled from behind.

The driver of the tow truck was outside the tow truck and he heard me yelling to
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him to stop. The driver of the tow truck got back into the tow truck, really fast and
continued to drive toward the exit of the circular drive of Bent Wood Circle. By the
time the tow truck was about to exit onto adjacent street, within the circle of Bent
Tree Apartments, he stopped. At this time I was out of breath and still talking with
911 dispatch operator. I informed dispatch operator that tow truck was stopped and
officers were arriving- I could see them coming and approaching the circle. I
proceeded to give the dispatch operator the tow truck information from the side of
the tow truck and the numbers listed on the tow truck. The tow truck driver never
stated to me why he had stolen my vehicle. The officers arrived, parked within the
circle and proceeded to gather information from me. I informed the officers that my
vehicle — a 2006 Ford Explorer, White in Color, was written off by my Creditor and
that I had the documents to prove it. The male Officer stated, where is the
document. I stated in my apartment. The Officer then instructed me to go retrieve
the document. I ran back te my apartment and retrieved the document and
returned to the location in the circle. I informed the Officers that the theft of my
vehicle was being orchestrated by individuals I am in litigation with in the State of
Georgia. I informed both Officers that these individuals have been stalking me via
helicopters since December 2013. I pointed to the helicopters- 3 in total-in the sky-
over our heads and the male Officer stated, the helicopters has nothing to do with
this situation and that I am paranoid. The helicopters then moved in closer to
incident area and were steady in the sky. Both Officers, one male and one female,
viewed the document, which was a copy of my credit report. Both Officers then

asked the driver of the tow truck for information. The tow truck driver stated he

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was there to repossess the vehicle for Capitol One Auto. The driver then printed out
a paper from within his truck and gave it to the male Officer. Both the male Officer
and the female Officer read the document given to them by the tow truck driver and
then read my document again. Throughout conversations between me and the two
Officers, the two Officers continued to state to me that this is a civil matter and that
they cannot get involved. Both Officers then stated, the document of the tow truck
operator was more recent in date printed than my copy of my credit report and
therefore, both Officers stated the driver of the tow truck could have possession of
the vehicle. I requested to see the document and both Officers stated I did not need
to see the document and that they read it and believe it. I then requested a
Supervisor. The female Officer then questioned me as to what is owed on the vehicle
and that the creditor has a right to possession when payment for vehicle not met.
The male Officer reiterated this to me. The male Officer then informed me that a
supervisor was coming. The Supervisor, Officer Rolinson appeared. He huddled
with the two officers, he examined the documents, he spoke with the tow truck
operator, he did not speak to me. The Supervisor, Officer Rolinson then stated to
me that he reiterated what the two Officers believed and that the tow truck operator
can have possession of my vehicle. I again stated that it was not Capitol One Auto
attempting to gain possession of my vehicle but Defendants in a Georgia RICO
Action in Georgia, who were perpetrating the theft of my vehicle. The Supervisor
Officer Rolinson, then stated, well, the driver has a more up to date document which
reveals he is entitled to possession. I requested to Supervisor, Officer Rolinson that I

view the document from the tow truck driver. The Supervisor, Officer Rolinson

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stated I didn’t need to see the document. I then requested to retrieve my belongings
from my 2006 Ford Explorer. Officer Rolinson stated, if you give the key to the tow
truck driver, then he would allow me to get my belongings from my vehicle. 1,
against my will, gave the key to Officer Rolinson, who gave the key to the tow truck
driver. I retrieved my possessions from my vehicle and the tow truck driver then
secured my vehicle onto the bed of the tow truck. I asked when could I receive a case
number for this incident. All Officers stated there is no case number because no
crime has been committed. I then retrieved my belongings from the vehicle, with the
assistance of Officer Rolinson. Officer Rolinson then gave me a ride back to my
building at 8260 Bentwood Circle and stated, it is the law that when you don’t pay
for your vehicle that the creditor can pick it up at any time and that this was a civil
matter that we as Officers cannot get involved in. I thanked Officer Rolinson for the

ride and I informed him that I would be taking this matter up with the State of

Indianapolis. I have not been contacted by Capitol One Auto. Capitol One Auto do

not have knowledge of my address in Indianapolis, IN, to this date of submission of

this Tort Claim. I also telephoned the police department, the following day, to
ensure that the recordings of my call to report the theft of my vehicle was going to

be preserved and I was assured that it is procedure to maintain the recordings.

I swear and affirm under the penalties of perjury that the foregoing information is true

and correct to the best of my knowledge and belief.

Brenda Parker, Claimant Aude. faslis, __, Date / [ - u [ ¢

Subscribed and sworn before me, this Ue
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in and for Woon County, M1 °
State of _ Wu cnw, 5 M
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NOTARY PUBL
My Commission expires : arc!

 
 
     

  

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